






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00536-CR







Tom Ledesma, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 4 OF TRAVIS COUNTY


NO. 582494, HONORABLE MIKE DENTON, JUDGE PRESIDING







Appellant's motion for new trial was granted by the trial court on October 25, 2002. 
The appeal is dismissed as moot.



				                                                                                   

				Mack Kidd, Justice

Before Justices Kidd, B. A. Smith and Yeakel

Dismissed as Moot

Filed:   October 31, 2002

Do Not Publish


